Case 1:20-cv-20336-KMW-SAK Document1 Filed 12/23/20 Page 1 of 9 PagelD: 1

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

Artela 1D ubose

Complaint for Employment
Discrimination

(In the space above enter the full name(s) of the plaintiff(s).) Case No.

(to be filled in by the Clerk’s Office)
-against-

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Dest o4 Asi Waser Crererol ‘ 9 hfe (check one)
Laster Staues Hstal Sewnce,

(Write 1iOY, Ne 10 5 Sf & San aberldant 1?) being sued. If

the names of all the defendants cannot fit in the space above,

please write “see attached” in the space and attach an

additional page with the full list of names.)

Se e attached

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L The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

Name Ange lA D ubase

Street Address TZ “Hed five Lane

City and County l/h Ly h bio, Bul (kg
State and Zip Code New ‘Te esey 0 FOAL
Telephone Number (Uy D9. HH - -TH1F :

B. The Defendant(s)

Provide the information below for each defendant named in the complaint,
whether the defendant is an individual, a government agency, an organization, or
a corporation. For an individual defendant, include the person’s job or title (if
known). Attach additional pages if needed.

Defendant No. 1

Name Lo Us S DeJoy .

Job or Title “_pbsimaster Genera| the Unlect Sts
(if known)

Street Address ArT SL Enlant Phe, S WwW

City and County Vas Ar IG ton

State and Zip Code Dec . Do ZUO
Telephone Number BO O-L(5- Bt 7

- E-mail Address

(if known)
Defendant No. 2
Name Gregg Walker
Job or Title SiymwstyY
(if known)
Street Address lb Kev 7 Dy. Ma (Try Luuctey king SF.rie

City and County Willing boy Dy Buel Lingtory } VT

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State and Zip Code

Telephone Number

E-mail Address

(if known)

Defendant No. 3

Name

Job or Title

(if known)
Street Address

City and County
State and Zip Code

Telephone Number

E-mail Address
(if known)

Defendant No. 4

Name

Job or Title
Gf known)

Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

C. Place of Employment

The address at which I sought employment or was employed by the defendant(s)

is:
Name Wi Lhd boro +657 OFF ct
Street Address | lp dey ' De ~ MULK “#6 vel
City and County Willi <Q lose f NO.
State and Zip Code \le ; Sesey O%0 He -9996
Telephone Number 800-295 -S 417

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II. Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (check all that

apply):

Ja

O

Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e
to 2000e-17 (race, color, gender, religion, national origin).

(Note: In order to bring suit in federal district court under Title VII, you
must first obtain a Notice of Right to Sue letter from the Equal
Employment Opportunity Commission.)

Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C.
§§ 621 to 634.

(Note: In order to bring suit in federal district court under the Age
Discrimination in Employment Act, you must first file a charge with the
Equal Employment Opportunity Commission.)

Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112
to 12117.

(Note: In order to bring suit in federal district court under the Americans
with Disabilities Act, you must first obtain a Notice of Right to Sue letter
Jrom the Equal Employment Opportunity Commission.)

Other federal law (specify the federal law):

Relevant state law (specify, if known):

Relevant city or county law (specify, if known):

Il. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as
briefly as possible the facts showing that each plaintiff is entitled to the damages or other
relief sought. State how each defendant was involved and what each defendant did that
caused the plaintiff harm or violated the plaintiff’s rights, including the dates and places
of that involvement or conduct. If more than one claim is asserted, number each claim
and write a short and plain statement of each claim in a separate paragraph. Attach
additional pages if needed.

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A. The discriminatory conduct of which I complain in this action includes (check all
that apply):

Failure to hire me.

Termination of my employment.

Failure to promote me.

Failure to accommodate my disability.

Unequal terms and conditions of my employment.

Retaliation.

Other acts (specify): (ety lah yy, hvsh le wok Cry Onmen t

cl wi¥K'ploce paWAasment
(Note: Only those grounds Oey in the vin led with the 2 Banal

Employment Opportunity Commission can be considered by the federal
district court under the federal employment discrimination statutes.)

MEOwWoOoo

B. It is my best recollection that the alleged discriminatory acts occurred on date(s)

Mage 2.015) = Aug usr 36, 2019

C. I believe that defendant(s) (check one):

Pit is/are still committing these acts against me.

is/are not still committing these acts against me.

D. Defendant(s) discriminated against me based on my (check all that apply and
explain):

race

color

gender/sex

religion

national origin

age. My year of birth is . (Give your year of birth
only if you are asserting a claim of age discrimination.)

disability or perceived disability (specify disability)

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E.

The facts of my case are as follows. Attach additional pages if needed.

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complaint a copy of your charge filed with the Equal Employment Opportunity
Commission, or the charge filed with the relevant state or city human rights
division.)

IV. Exhaustion of Federal Administrative Remedies

A.

It is my best recollection that I filed a charge with the Equal Employment
Opportunity Commission or my Equal Employment Opportunity counselor
regarding the defendant’s alleged discriminatory conduct on (date)

The Equal Employment Opportunity Commission (check one):

has not issued a Notice of Right to Sue letter.

PL issued a Notice of Right to Sue letter, which I received on (date)

(Note: Attach a copy of the Notice of Right to Sue letter from the
Equal Employment Opportunity Commission to this complaint.)

Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment
Opportunity Commission regarding the defendant’s alleged discriminatory
conduct (check one):

ng

><] 60 days or more have elapsed.

Sy

less than 60 days have elapsed.

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Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to
order. Do not make legal arguments. Include any basis for claiming that the wrongs
alleged are continuing at the present time. Include the amounts of any actual damages
claimed for the acts alleged and the basis for these amounts. Include any punitive or
exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
actual or punitive money damages.

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VI. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a non-frivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. I understand that my failure to keep a current
address on file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: |Z - 24,2020

Signature of Plaintiff Oreo CO) Aga
Printed Name of Plaintiff Ait uy ye l¢ ih Du Pye.

